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16    New York, NY 10010                               San Francisco, CA 94111
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17    Facsimile: (212) 849-7100                        Facsimile: (415) 875-6700
18
     Counsel for Defendant Google LLC
19
                                  UNITED STATES DISTRICT COURT
20
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
      PATRICK CALHOUN, et al., on behalf of             Case No. 4:20-cv-5146-YGR-SVK
22    themselves and all others similarly situated,
                                                        DECLARATION OF JONATHAN TSE IN
23           Plaintiffs,                                SUPPORT      OF      PLAINTIFFS’
                                                        ADMINISTRATIVE MOTION TO SEAL
24                                                      PORTIONS OF PLAINTIFFS’ BRIEF RE:
             v.                                         TARGETED USE OF CALHOUN
25                                                      DISCOVERY IN IN RE GOOGLE RTB
      GOOGLE LLC,                                       CONSUMER PRIVACY LITIGATION,
26                                                      PURSUANT TO DKT. 683
             Defendant.
27                                                      Judge: Hon. Yvonne Gonzalez Rogers

28

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 1          I, Jonathan Tse, declare as follows:
 2          1.      I am a member of the bar of the State of California and an attorney at Quinn Emanuel
 3 Urquhart & Sullivan, LLP, attorneys for Defendant Google LLC (“Google”) in this action. I make

 4 this declaration of my own personal, firsthand knowledge, and if called and sworn as a witness, I

 5 could and would testify competently thereto.

 6          2.      I am making this declaration pursuant to Civil Local Rule 79-5(e) as an attorney for
 7 the “Designating Party,” as that term is used in that rule.

 8          3.      Pursuant to Civil Local Rule 79-5, I submit this declaration in support of Google’s
 9 Administrative Motion to File Under Seal Portions of Plaintiffs’ Brief re: Targeted Use of Calhoun
10 Discovery in In RE Google RTB Consumer Privacy Litigation, Pursuant to Dkt. 683 (“Motion”),

11 Shafiq Declaration, Weaver Declaration, Exhibits A-N to the Weaver Declaration, as well as

12 documents bates numbered GOOG-CALH-00030031, GOOG-CALH-00061979, GOOG-CALH-

13 00161106, GOOG-CALH-00374314, GOOG-CALH-01134322. In making this request, Google

14 has carefully considered the relevant legal standard and policy considerations outlined in Civil Local

15 Rule 79-5. Google makes this request with the good faith belief that the information sought to be

16 sealed consists of Google’s confidential and proprietary information and that public disclosure could

17 cause competitive harm.

18          4.      The aforementioned all comprise confidential and proprietary information as the
19 materials involve highly sensitive features of Google’s internal systems and operations that Google

20 does not share publicly. Specifically, this information provides details related to Google’s internal

21 projects, data signals, and logs, and their proprietary functionalities. Such information reveals

22 Google’s internal strategies, system designs, and business practices for operating and maintaining

23 many of its important services while complying with legal and privacy obligations.

24          5.      I have reviewed the documents that Plaintiffs seek to file under seal pursuant to Civil
25 Local Rule 79-5. Based on my review, there is good cause to seal the following information:

26               Document               Text To Be Sealed             Basis for Sealing Portion of
                                                                               Document
27    Plaintiffs’ Brief    re: Highlighted portions in           The information requested to be sealed
28    Targeted Use of Calhoun yellow at:                         contains Google’s highly confidential
      Discovery in In RE                                         and proprietary information regarding
                                                      1                Case No. 4:20-cv-5146-YGR-SVK
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 1    Google RTB Consumer Pages i:11, 3:11-19, 5:5-           highly sensitive features of Google’s
      Privacy          Litigation, 15, 7:12-13, 8:7, 8:11,    internal systems and operations,
 2    Pursuant to Dkt. 683         8:13-15, 8:22, 8:25, 8:27, including various types of Google’s
                                   9:19-23                    internal projects, data signals, and
 3
      Google joins Plaintiffs’                                logs, and their proprietary
 4    motion to seal in part with                             functionalities, that Google maintains
      respect to this document.                               as confidential in the ordinary course
 5                                                            of its business and is not generally
                                                              known to the public or Google’s
 6                                                            competitors. Such confidential and
 7                                                            proprietary information reveals
                                                              Google’s internal strategies, system
 8                                                            designs, and business practices for
                                                              operating and maintaining many of its
 9                                                            important services, and falls within the
                                                              protected scope of the Protective
10                                                            Order entered in this action. See Dkt.
11                                                            61 at 2-3. Public disclosure of such
                                                              confidential and proprietary
12                                                            information could affect Google’s
                                                              competitive standing as competitors
13                                                            may alter their systems and practices
                                                              relating to competing products. It may
14                                                            also place Google at an increased risk
15                                                            of cybersecurity threats, as third
                                                              parties may seek to use the
16                                                            information to compromise Google’s
                                                              internal practices relating to
17                                                            competing products.
      Declaration of Prof. Zubair Highlighted portions in     The information requested to be sealed
18
      Shafiq                      yellow at:                  contains Google’s highly confidential
19                                                            and proprietary information regarding
      Google joins Plaintiffs’ Pages 2:21, 3:17-25, 4:4- highly sensitive features of Google’s
20    motion to seal in part with 5, 4:7-22, 5:4, 5:12, 5:17- internal systems and operations,
      respect to this document.   25, 6:2-6, 6:12, 6:14-7:3, including various types of Google’s
21                                7:10-21, 7:23-8:2, 8:7-9, internal projects, data signals, and
                                  8:10-11, 8:17-9:8, 9:10,    logs, and their proprietary
22
                                  9:12-17, 9:22-10:1, 10:8- functionalities, that Google maintains
23                                12, 10:17-28, 11:3-11       as confidential in the ordinary course
                                                              of its business and is not generally
24                                                            known to the public or Google’s
                                                              competitors. Such confidential and
25                                                            proprietary information reveals
26                                                            Google’s internal strategies, system
                                                              designs, and business practices for
27                                                            operating and maintaining many of its
                                                              important services, and falls within the
28                                                            protected scope of the Protective

                                                    2                 Case No. 4:20-cv-5146-YGR-SVK
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 1                                                             Order entered in this action. See Dkt.
                                                               61 at 2-3. Public disclosure of such
 2                                                             confidential and proprietary
                                                               information could affect Google’s
 3
                                                               competitive standing as competitors
 4                                                             may alter their systems and practices
                                                               relating to competing products. It may
 5                                                             also place Google at an increased risk
                                                               of cybersecurity threats, as third
 6                                                             parties may seek to use the
 7                                                             information to compromise Google’s
                                                               internal practices relating to
 8                                                             competing products.
      Declaration of Lesley E.      Highlighted portions in    The information requested to be sealed
 9    Weaver                        yellow at:                 contains Google’s highly confidential
                                                               and proprietary information regarding
10    Google joins Plaintiffs’      Pages 2:8-15, 3:4-8, 4:27, highly sensitive features of Google’s
11    motion to seal in part with   5:16-18, 5:22, 7:10        internal systems and operations,
      respect to this document.                                including various types of Google’s
12                                                             internal projects, data signals, and
                                                               logs, and their proprietary
13                                                             functionalities, that Google maintains
                                                               as confidential in the ordinary course
14
                                                               of its business and is not generally
15                                                             known to the public or Google’s
                                                               competitors. Such confidential and
16                                                             proprietary information reveals
                                                               Google’s internal strategies, system
17                                                             designs, and business practices for
                                                               operating and maintaining many of its
18
                                                               important services, and falls within the
19                                                             protected scope of the Protective
                                                               Order entered in this action. See Dkt.
20                                                             61 at 2-3. Public disclosure of such
                                                               confidential and proprietary
21                                                             information could affect Google’s
                                                               competitive standing as competitors
22
                                                               may alter their systems and practices
23                                                             relating to competing products. It may
                                                               also place Google at an increased risk
24                                                             of cybersecurity threats, as third
                                                               parties may seek to use the
25                                                             information to compromise Google’s
26                                                             internal practices relating to
                                                               competing products.
27    Exhibit A (GOOG-CABR-         Portions at:               The information requested to be sealed
      00892126)                                                contains Google’s highly confidential
28                                  Entirety                   and proprietary information regarding

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     Case 4:20-cv-05146-YGR         Document 730   Filed 06/22/22     Page 5 of 17




 1    Google joins Plaintiffs’                            highly sensitive features of Google’s
      motion to seal in full with                         internal systems and operations,
 2    respect to this document.                           including various types of Google’s
                                                          internal projects, and their proprietary
 3
                                                          functionalities, that Google maintains
 4                                                        as confidential in the ordinary course
                                                          of its business and is not generally
 5                                                        known to the public or Google’s
                                                          competitors. Such confidential and
 6                                                        proprietary information reveals
 7                                                        Google’s internal strategies, system
                                                          designs, and business practices for
 8                                                        operating and maintaining many of its
                                                          important services, and falls within the
 9                                                        protected scope of the Protective
                                                          Order entered in this action. See Dkt.
10                                                        61 at 2-3. Public disclosure of such
11                                                        confidential and proprietary
                                                          information could affect Google’s
12                                                        competitive standing as competitors
                                                          may alter their systems and practices
13                                                        relating to competing products. It may
                                                          also place Google at an increased risk
14                                                        of cybersecurity threats, as third
15                                                        parties may seek to use the
                                                          information to compromise Google’s
16                                                        internal practices relating to
                                                          competing products.
17    Exhibit B (GOOG-CALH- Portions at:                  The information requested to be sealed
      00030221)                                           contains Google’s highly confidential
18
                                  Entirety                and proprietary information regarding
19    Google joins Plaintiffs’                            highly sensitive features of Google’s
      motion to seal in full with                         internal systems and operations,
20    respect to this document.                           including various types of Google’s
                                                          internal projects, and their proprietary
21                                                        functionalities, that Google maintains
                                                          as confidential in the ordinary course
22
                                                          of its business and is not generally
23                                                        known to the public or Google’s
                                                          competitors. Such confidential and
24                                                        proprietary information reveals
                                                          Google’s internal strategies, system
25                                                        designs, and business practices for
26                                                        operating and maintaining many of its
                                                          important services, and falls within the
27                                                        protected scope of the Protective
                                                          Order entered in this action. See Dkt.
28                                                        61 at 2-3. Public disclosure of such

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 1                                                      confidential and proprietary
                                                        information could affect Google’s
 2                                                      competitive standing as competitors
                                                        may alter their systems and practices
 3
                                                        relating to competing products. It may
 4                                                      also place Google at an increased risk
                                                        of cybersecurity threats, as third
 5                                                      parties may seek to use the
                                                        information to compromise Google’s
 6                                                      internal practices relating to
 7                                                      competing products.
      Exhibit C (GOOG-CABR- Portions at:                The information requested to be sealed
 8    00893711)                                         contains Google’s highly confidential
                                  Entirety              and proprietary information regarding
 9    Google joins Plaintiffs’                          highly sensitive features of Google’s
      motion to seal in full with                       internal systems and operations,
10    respect to this document.                         including various types of Google’s
11                                                      internal projects and data signals, and
                                                        their proprietary functionalities, that
12                                                      Google maintains as confidential in
                                                        the ordinary course of its business and
13                                                      is not generally known to the public or
                                                        Google’s competitors. Such
14
                                                        confidential and proprietary
15                                                      information reveals Google’s internal
                                                        strategies, system designs, and
16                                                      business practices for operating and
                                                        maintaining many of its important
17                                                      services, and falls within the protected
                                                        scope of the Protective Order entered
18
                                                        in this action. See Dkt. 61 at 2-3.
19                                                      Public disclosure of such confidential
                                                        and proprietary information could
20                                                      affect Google’s competitive standing
                                                        as competitors may alter their systems
21                                                      and practices relating to competing
                                                        products. It may also place Google at
22
                                                        an increased risk of cybersecurity
23                                                      threats, as third parties may seek to
                                                        use the information to compromise
24                                                      Google’s internal practices relating to
                                                        competing products.
25    Exhibit D (GOOG-CABR- Portions at:                The information requested to be sealed
26    05885871)                                         contains Google’s highly confidential
                                  Entirety              and proprietary information regarding
27    Google joins Plaintiffs’                          highly sensitive features of Google’s
      motion to seal in full with                       internal systems and operations,
28    respect to this document.                         including various types of Google’s

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 1                                                      internal projects, and their proprietary
                                                        functionalities, that Google maintains
 2                                                      as confidential in the ordinary course
                                                        of its business and is not generally
 3
                                                        known to the public or Google’s
 4                                                      competitors. Such confidential and
                                                        proprietary information reveals
 5                                                      Google’s internal strategies, system
                                                        designs, and business practices for
 6                                                      operating and maintaining many of its
 7                                                      important services, and falls within the
                                                        protected scope of the Protective
 8                                                      Order entered in this action. See Dkt.
                                                        61 at 2-3. Public disclosure of such
 9                                                      confidential and proprietary
                                                        information could affect Google’s
10                                                      competitive standing as competitors
11                                                      may alter their systems and practices
                                                        relating to competing products. It may
12                                                      also place Google at an increased risk
                                                        of cybersecurity threats, as third
13                                                      parties may seek to use the
                                                        information to compromise Google’s
14                                                      internal practices relating to
15                                                      competing products.
      Exhibit E (GOOG-CALH- Portions at:                The information requested to be sealed
16    00030521)                                         contains Google’s highly confidential
                                  Entirety              and proprietary information regarding
17    Google joins Plaintiffs’                          highly sensitive features of Google’s
      motion to seal in full with                       internal systems and operations,
18
      respect to this document.                         including various types of Google’s
19                                                      internal projects, data signals, and
                                                        logs, and their proprietary
20                                                      functionalities, that Google maintains
                                                        as confidential in the ordinary course
21                                                      of its business and is not generally
                                                        known to the public or Google’s
22
                                                        competitors. Such confidential and
23                                                      proprietary information reveals
                                                        Google’s internal strategies, system
24                                                      designs, and business practices for
                                                        operating and maintaining many of its
25                                                      important services, and falls within the
26                                                      protected scope of the Protective
                                                        Order entered in this action. See Dkt.
27                                                      61 at 2-3. Public disclosure of such
                                                        confidential and proprietary
28                                                      information could affect Google’s

                                               6                 Case No. 4:20-cv-5146-YGR-SVK
                                        TSE DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1                                                       competitive standing as competitors
                                                         may alter their systems and practices
 2                                                       relating to competing products. It may
                                                         also place Google at an increased risk
 3
                                                         of cybersecurity threats, as third
 4                                                       parties may seek to use the
                                                         information to compromise Google’s
 5                                                       internal practices relating to
                                                         competing products.
 6    Exhibit F (GOOG-CABR- Highlighted portions in      The information requested to be sealed
 7    00111820)             yellow at:                   contains Google’s highly confidential
                                                         and proprietary information regarding
 8    Google joins Plaintiffs’ Pages -1822, -1824, -     highly sensitive features of Google’s
      motion to seal in part with 1825                   internal systems and operations,
 9    respect to this document.                          including various types of Google’s
                                                         internal projects, and their proprietary
10                                                       functionalities, that Google maintains
11                                                       as confidential in the ordinary course
                                                         of its business and is not generally
12                                                       known to the public or Google’s
                                                         competitors. Such confidential and
13                                                       proprietary information reveals
                                                         Google’s internal strategies, system
14
                                                         designs, and business practices for
15                                                       operating and maintaining many of its
                                                         important services, and falls within the
16                                                       protected scope of the Protective
                                                         Order entered in this action. See Dkt.
17                                                       61 at 2-3. Public disclosure of such
                                                         confidential and proprietary
18
                                                         information could affect Google’s
19                                                       competitive standing as competitors
                                                         may alter their systems and practices
20                                                       relating to competing products. It may
                                                         also place Google at an increased risk
21                                                       of cybersecurity threats, as third
                                                         parties may seek to use the
22
                                                         information to compromise Google’s
23                                                       internal practices relating to
                                                         competing products.
24    Exhibit G (GOOG-CALH- Portions at:                 The information requested to be sealed
      00043330)                                          contains Google’s highly confidential
25                                Entirety               and proprietary information regarding
26    Google joins Plaintiffs’                           highly sensitive features of Google’s
      motion to seal in full with                        internal systems and operations,
27    respect to this document.                          including various types of Google’s
                                                         internal projects, and their proprietary
28                                                       functionalities, that Google maintains

                                                7                 Case No. 4:20-cv-5146-YGR-SVK
                                         TSE DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1                                                      as confidential in the ordinary course
                                                        of its business and is not generally
 2                                                      known to the public or Google’s
                                                        competitors. Such confidential and
 3
                                                        proprietary information reveals
 4                                                      Google’s internal strategies, system
                                                        designs, and business practices for
 5                                                      operating and maintaining many of its
                                                        important services, and falls within the
 6                                                      protected scope of the Protective
 7                                                      Order entered in this action. See Dkt.
                                                        61 at 2-3. Public disclosure of such
 8                                                      confidential and proprietary
                                                        information could affect Google’s
 9                                                      competitive standing as competitors
                                                        may alter their systems and practices
10                                                      relating to competing products. It may
11                                                      also place Google at an increased risk
                                                        of cybersecurity threats, as third
12                                                      parties may seek to use the
                                                        information to compromise Google’s
13                                                      internal practices relating to
                                                        competing products.
14
      Exhibit H (GOOG-CABR- Portions at:                The information requested to be sealed
15    05404180)                                         contains Google’s highly confidential
                                  Entirety              and proprietary information regarding
16    Google joins Plaintiffs’                          highly sensitive features of Google’s
      motion to seal in full with                       internal systems and operations,
17    respect to this document.                         including various types of Google’s
                                                        internal projects, and their proprietary
18
                                                        functionalities, that Google maintains
19                                                      as confidential in the ordinary course
                                                        of its business and is not generally
20                                                      known to the public or Google’s
                                                        competitors. Such confidential and
21                                                      proprietary information reveals
                                                        Google’s internal strategies, system
22
                                                        designs, and business practices for
23                                                      operating and maintaining many of its
                                                        important services, and falls within the
24                                                      protected scope of the Protective
                                                        Order entered in this action. See Dkt.
25                                                      61 at 2-3. Public disclosure of such
26                                                      confidential and proprietary
                                                        information could affect Google’s
27                                                      competitive standing as competitors
                                                        may alter their systems and practices
28                                                      relating to competing products. It may

                                               8                 Case No. 4:20-cv-5146-YGR-SVK
                                        TSE DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1                                                             also place Google at an increased risk
                                                               of cybersecurity threats, as third
 2                                                             parties may seek to use the
                                                               information to compromise Google’s
 3
                                                               internal practices relating to
 4                                                             competing products.
       Exhibit I (8/4/21 Curt Highlighted portions in          The information requested to be sealed
 5     Harting       Depo      Tr. blue at:                    contains Google’s highly confidential
       Excerpts)                                               and proprietary information regarding
 6                                 Pages 259:22-23, 259:25,    highly sensitive features of Google’s
 7     Google joins Plaintiffs’ 260:1, 260:4, 260:12-13,       internal systems and operations,
       motion to seal in part with 260:17, Errata              including various types of Google’s
 8     respect to this document.                               internal projects, data signals, and
                                                               logs, and their proprietary
 9                                                             functionalities, that Google maintains
                                                               as confidential in the ordinary course
10                                                             of its business and is not generally
11                                                             known to the public or Google’s
                                                               competitors. Such confidential and
12                                                             proprietary information reveals
                                                               Google’s internal strategies, system
13                                                             designs, and business practices for
                                                               operating and maintaining many of its
14
                                                               important services, and falls within the
15                                                             protected scope of the Protective
                                                               Order entered in this action. See Dkt.
16                                                             61 at 2-3. Public disclosure of such
                                                               confidential and proprietary
17                                                             information could affect Google’s
                                                               competitive standing as competitors
18
                                                               may alter their systems and practices
19                                                             relating to competing products. It may
                                                               also place Google at an increased risk
20                                                             of cybersecurity threats, as third
                                                               parties may seek to use the
21                                                             information to compromise Google’s
                                                               internal practices relating to
22
                                                               competing products.
23     Exhibit J (12/20/21 Sam Highlighted portions in         The information requested to be sealed
       Heft-Luthy Depo Tr. blue at:                            contains Google’s highly confidential
24     Excerpts)                                               and proprietary information regarding
                                   Pages 59:23, 88:2, 88:22,   highly sensitive features of Google’s
25     Google joins Plaintiffs’ 89:4, 93:15-18                 internal systems and operations,
26     motion to seal in part with                             including various types of Google’s
       respect to this document.                               internal projects, and their proprietary
27                                                             functionalities, that Google maintains
                                                               as confidential in the ordinary course
28                                                             of its business and is not generally

                                                    9                 Case No. 4:20-cv-5146-YGR-SVK
                                             TSE DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1                                                            known to the public or Google’s
                                                              competitors. Such confidential and
 2                                                            proprietary information reveals
                                                              Google’s internal strategies, system
 3
                                                              designs, and business practices for
 4                                                            operating and maintaining many of its
                                                              important services, and falls within the
 5                                                            protected scope of the Protective
                                                              Order entered in this action. See Dkt.
 6                                                            61 at 2-3. Public disclosure of such
 7                                                            confidential and proprietary
                                                              information could affect Google’s
 8                                                            competitive standing as competitors
                                                              may alter their systems and practices
 9                                                            relating to competing products. It may
                                                              also place Google at an increased risk
10                                                            of cybersecurity threats, as third
11                                                            parties may seek to use the
                                                              information to compromise Google’s
12                                                            internal practices relating to
                                                              competing products.
13     Exhibit K (1/7/22 Deepak Highlighted portions in       The information requested to be sealed
       Ravichandran Depo Tr. blue at:                         contains Google’s highly confidential
14
       Excerpts)                                              and proprietary information regarding
15                                 Pages 36:12-16, 89:5-11,   highly sensitive features of Google’s
       Google joins Plaintiffs’ 92:1, 95:15, 95:21-23,        internal systems and operations,
16     motion to seal in part with 133:17, 133:20, 134:3-4,   including various types of Google’s
       respect to this document.   134:10-11, 171:5-6         internal projects, and their proprietary
17                                                            functionalities, that Google maintains
                                                              as confidential in the ordinary course
18
                                                              of its business and is not generally
19                                                            known to the public or Google’s
                                                              competitors. Such confidential and
20                                                            proprietary information reveals
                                                              Google’s internal strategies, system
21                                                            designs, and business practices for
                                                              operating and maintaining many of its
22
                                                              important services, and falls within the
23                                                            protected scope of the Protective
                                                              Order entered in this action. See Dkt.
24                                                            61 at 2-3. Public disclosure of such
                                                              confidential and proprietary
25                                                            information could affect Google’s
26                                                            competitive standing as competitors
                                                              may alter their systems and practices
27                                                            relating to competing products. It may
                                                              also place Google at an increased risk
28                                                            of cybersecurity threats, as third

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 1                                                             parties may seek to use the
                                                               information to compromise Google’s
 2                                                             internal practices relating to
                                                               competing products.
 3
       Exhibit L (3/1/22 Hyewon      Highlighted portions in   The information requested to be sealed
 4     Jun Depo Tr. Excerpts)        blue at:                  contains Google’s highly confidential
                                                               and proprietary information regarding
 5     Google joins Plaintiffs’      Pages 84:13, 84:17-23,    highly sensitive features of Google’s
       motion to seal in part with   85:1, 85:4-5, 85:15,      internal systems and operations,
 6     respect to this document.     86:11, 86:24, 115:25-     including various types of Google’s
 7                                   116:22, 116:24-117:3,     internal projects, and their proprietary
                                     119:9, 119:12-19,         functionalities, that Google maintains
 8                                   150:16, 150:20, 152:12,   as confidential in the ordinary course
                                     152:19, 153:1, 153:4-7,   of its business and is not generally
 9                                   153:12-154:3, 154:18-     known to the public or Google’s
                                     157:24, 170:17-18, Errata competitors. Such confidential and
10                                   pgs. 5-6, 8               proprietary information reveals
11                                                             Google’s internal strategies, system
                                                               designs, and business practices for
12                                                             operating and maintaining many of its
                                                               important services, and falls within the
13                                                             protected scope of the Protective
                                                               Order entered in this action. See Dkt.
14
                                                               61 at 2-3. Public disclosure of such
15                                                             confidential and proprietary
                                                               information could affect Google’s
16                                                             competitive standing as competitors
                                                               may alter their systems and practices
17                                                             relating to competing products. It may
                                                               also place Google at an increased risk
18
                                                               of cybersecurity threats, as third
19                                                             parties may seek to use the
                                                               information to compromise Google’s
20                                                             internal practices relating to
                                                               competing products.
21     Exhibit   M     (4/13/22      Highlighted portions in   The information requested to be sealed
22     Michael Kleber Depo Tr.       blue at:                  contains Google’s highly confidential
       Excerpts)                                               and proprietary information regarding
23                                   Page 29:24                highly sensitive features of Google’s
       Google joins Plaintiffs’                                internal systems and operations,
24     motion to seal in part with                             including Google’s internal project,
       respect to this document.                               that Google maintains as confidential
25                                                             in the ordinary course of its business
26                                                             and is not generally known to the
                                                               public or Google’s competitors. Such
27                                                             confidential and proprietary
                                                               information reveals Google’s internal
28                                                             strategies, system designs, and

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 1                                                          business practices for operating and
                                                            maintaining many of its important
 2                                                          services, and falls within the protected
                                                            scope of the Protective Order entered
 3
                                                            in this action. See Dkt. 61 at 2-3.
 4                                                          Public disclosure of such confidential
                                                            and proprietary information could
 5                                                          affect Google’s competitive standing
                                                            as competitors may alter their systems
 6                                                          and practices relating to competing
 7                                                          products. It may also place Google at
                                                            an increased risk of cybersecurity
 8                                                          threats, as third parties may seek to
                                                            use the information to compromise
 9                                                          Google’s internal practices relating to
                                                            competing products.
10     Exhibit N (4/14/22 Glenn Highlighted portions in     The information requested to be sealed
11     Berntson       Depo     Tr. blue at:                 contains Google’s highly confidential
       Excerpts)                                            and proprietary information regarding
12                                 Pages 43:14, 43:19,      highly sensitive features of Google’s
       Google joins Plaintiffs’ 43:21-22, 43:24, 44:1-25,   internal systems and operations,
13     motion to seal in part with 45:5-6, 45:10-46:13,     including various types of Google’s
       respect to this document.   85:23-86:22              internal projects, and their proprietary
14
                                                            functionalities, that Google maintains
15                                                          as confidential in the ordinary course
                                                            of its business and is not generally
16                                                          known to the public or Google’s
                                                            competitors. Such confidential and
17                                                          proprietary information reveals
                                                            Google’s internal strategies, system
18
                                                            designs, and business practices for
19                                                          operating and maintaining many of its
                                                            important services, and falls within the
20                                                          protected scope of the Protective
                                                            Order entered in this action. See Dkt.
21                                                          61 at 2-3. Public disclosure of such
                                                            confidential and proprietary
22
                                                            information could affect Google’s
23                                                          competitive standing as competitors
                                                            may alter their systems and practices
24                                                          relating to competing products. It may
                                                            also place Google at an increased risk
25                                                          of cybersecurity threats, as third
26                                                          parties may seek to use the
                                                            information to compromise Google’s
27                                                          internal practices relating to
                                                            competing products.
28

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 1     GOOG-CALH-00030031       Portions at:               The information requested to be sealed
                                                           contains Google’s highly confidential
 2     Google joins Plaintiffs’ Entirety                   and proprietary information regarding
       motion to seal in full with                         highly sensitive features of Google’s
 3
       respect to this document.                           internal systems and operations,
 4                                                         including various types of Google’s
                                                           internal projects, data signals, and
 5                                                         logs, and their proprietary
                                                           functionalities, that Google maintains
 6                                                         as confidential in the ordinary course
 7                                                         of its business and is not generally
                                                           known to the public or Google’s
 8                                                         competitors. Such confidential and
                                                           proprietary information reveals
 9                                                         Google’s internal strategies, system
                                                           designs, and business practices for
10                                                         operating and maintaining many of its
11                                                         important services, and falls within the
                                                           protected scope of the Protective
12                                                         Order entered in this action. See Dkt.
                                                           61 at 2-3. Public disclosure of such
13                                                         confidential and proprietary
                                                           information could affect Google’s
14                                                         competitive standing as competitors
15                                                         may alter their systems and practices
                                                           relating to competing products. It may
16                                                         also place Google at an increased risk
                                                           of cybersecurity threats, as third
17                                                         parties may seek to use the
                                                           information to compromise Google’s
18
                                                           internal practices relating to
19                                                         competing products.
       GOOG-CALH-00061979       Portions at:               The information requested to be sealed
20                                                         contains Google’s highly confidential
       Google joins Plaintiffs’ Entirety                   and proprietary information regarding
21     motion to seal in full with                         highly sensitive features of Google’s
       respect to this document.                           internal systems and operations,
22
                                                           including various types of Google’s
23                                                         internal projects and data signals, and
                                                           their proprietary functionalities, that
24                                                         Google maintains as confidential in
                                                           the ordinary course of its business and
25                                                         is not generally known to the public or
26                                                         Google’s competitors. Such
                                                           confidential and proprietary
27                                                         information reveals Google’s internal
                                                           strategies, system designs, and
28                                                         business practices for operating and

                                                  13                Case No. 4:20-cv-5146-YGR-SVK
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 1                                                         maintaining many of its important
                                                           services, and falls within the protected
 2                                                         scope of the Protective Order entered
                                                           in this action. See Dkt. 61 at 2-3.
 3
                                                           Public disclosure of such confidential
 4                                                         and proprietary information could
                                                           affect Google’s competitive standing
 5                                                         as competitors may alter their systems
                                                           and practices relating to competing
 6                                                         products. It may also place Google at
 7                                                         an increased risk of cybersecurity
                                                           threats, as third parties may seek to
 8                                                         use the information to compromise
                                                           Google’s internal practices relating to
 9                                                         competing products.
       GOOG-CALH-00161106       Portions at:               The information requested to be sealed
10                                                         contains Google’s highly confidential
11     Google joins Plaintiffs’ Entirety                   and proprietary information regarding
       motion to seal in full with                         highly sensitive features of Google’s
12     respect to this document.                           internal systems and operations,
                                                           including various types of Google’s
13                                                         internal projects, data signals, and
                                                           logs, and their proprietary
14
                                                           functionalities, that Google maintains
15                                                         as confidential in the ordinary course
                                                           of its business and is not generally
16                                                         known to the public or Google’s
                                                           competitors. Such confidential and
17                                                         proprietary information reveals
                                                           Google’s internal strategies, system
18
                                                           designs, and business practices for
19                                                         operating and maintaining many of its
                                                           important services, and falls within the
20                                                         protected scope of the Protective
                                                           Order entered in this action. See Dkt.
21                                                         61 at 2-3. Public disclosure of such
                                                           confidential and proprietary
22
                                                           information could affect Google’s
23                                                         competitive standing as competitors
                                                           may alter their systems and practices
24                                                         relating to competing products. It may
                                                           also place Google at an increased risk
25                                                         of cybersecurity threats, as third
26                                                         parties may seek to use the
                                                           information to compromise Google’s
27                                                         internal practices relating to
                                                           competing products.
28

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 1     GOOG-CALH-00374314       Portions at:               The information requested to be sealed
                                                           contains Google’s highly confidential
 2     Google joins Plaintiffs’ Entirety                   and proprietary information regarding
       motion to seal in full with                         highly sensitive features of Google’s
 3
       respect to this document.                           internal systems and operations,
 4                                                         including various types of Google’s
                                                           internal projects, data signals, and
 5                                                         logs, and their proprietary
                                                           functionalities, that Google maintains
 6                                                         as confidential in the ordinary course
 7                                                         of its business and is not generally
                                                           known to the public or Google’s
 8                                                         competitors. Such confidential and
                                                           proprietary information reveals
 9                                                         Google’s internal strategies, system
                                                           designs, and business practices for
10                                                         operating and maintaining many of its
11                                                         important services, and falls within the
                                                           protected scope of the Protective
12                                                         Order entered in this action. See Dkt.
                                                           61 at 2-3. Public disclosure of such
13                                                         confidential and proprietary
                                                           information could affect Google’s
14                                                         competitive standing as competitors
15                                                         may alter their systems and practices
                                                           relating to competing products. It may
16                                                         also place Google at an increased risk
                                                           of cybersecurity threats, as third
17                                                         parties may seek to use the
                                                           information to compromise Google’s
18
                                                           internal practices relating to
19                                                         competing products.
       GOOG-CALH-01134322       Portions at:               The information requested to be sealed
20                                                         contains Google’s highly confidential
       Google joins Plaintiffs’ Entirety                   and proprietary information regarding
21     motion to seal in full with                         highly sensitive features of Google’s
       respect to this document.                           internal systems and operations,
22
                                                           including various types of Google’s
23                                                         data signals and logs, and their
                                                           proprietary functionalities, that
24                                                         Google maintains as confidential in
                                                           the ordinary course of its business and
25                                                         is not generally known to the public or
26                                                         Google’s competitors. Such
                                                           confidential and proprietary
27                                                         information reveals Google’s internal
                                                           strategies, system designs, and
28                                                         business practices for operating and

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 1                                                              maintaining many of its important
                                                                services, and falls within the protected
 2                                                              scope of the Protective Order entered
                                                                in this action. See Dkt. 61 at 2-3.
 3
                                                                Public disclosure of such confidential
 4                                                              and proprietary information could
                                                                affect Google’s competitive standing
 5                                                              as competitors may alter their systems
                                                                and practices relating to competing
 6                                                              products. It may also place Google at
 7                                                              an increased risk of cybersecurity
                                                                threats, as third parties may seek to
 8                                                              use the information to compromise
                                                                Google’s internal practices relating to
 9                                                              competing products.
            6.      Public disclosure of the above-listed information would harm Google’s competitive
10
     standing it has earned through years of innovation and careful deliberation, by revealing sensitive
11
     aspects of Google’s proprietary systems, strategies, and designs to Google’s competitors, allowing
12
     them to alter their own plans for product development and/or commercialization, time strategic
13
     litigation, focus their patent prosecution strategies, or otherwise unfairly compete with Google.
14
            7.      For these reasons, Google respectfully requests that the Court order the foregoing to
15
     be filed under seal.
16

17
            I declare under penalty of perjury of the laws of the United States that the foregoing is true
18
     and correct. Executed in San Francisco, California on June 22, 2022.
19

20
     DATED: June 22, 2022                        QUINN EMANUEL URQUHART &
21                                               SULLIVAN, LLP
22

23
                                                  By          /s/ Jonathan Tse
24                                                     Jonathan Tse
25
                                                       Attorney for Defendant
26
27

28

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